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 1   SARAH E. HARRINGTON
     Deputy Assistant Attorney General
 2   STEPHANIE HINDS
     Acting United States Attorney
 3   MICHELLE R. BENNETT
     Assistant Branch Director
 4   JUSTIN M. SANDBERG, IL. BAR NO. 6278377
     Senior Trial Counsel
 5   MICHAEL GERARDI
     CHRISTOPHER R. HEALY
 6   REBECCA M. KOPPLIN
     DANIEL RIESS
 7   Trial Attorneys
     United States Department of Justice
 8   Civil Division, Federal Programs Branch
     1100 L Street NW
 9   Washington, D.C. 20001
     Telephone: (202) 514-5838
10   Email: Justin.Sandberg@usdoj.gov
     Counsel for Federal Defendants
11

12
                           IN THE UNITED STATES DISTRICT COURT
13
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                        OAKLAND DIVISION
15
     ______________________________________
16                                             )
     STATE OF CALIFORNIA, et al.,              ) Case No.: 4:17-cv-5783-HSG
17                                             )
                        Plaintiffs,            )
18                                             ) JOINT STATUS REPORT
                  v.                           )
19                                             )
     XAVIER BECERRA, Secretary of              )
20   Health and Human Services, et al.,1       )
                                               )
21                      Defendants,            )
                                               )
22          and,                               )
                                               )
23   THE LITTLE SISTERS OF THE POOR,           )
     JEANNE JUGAN RESIDENCE, et al.,           )
24                                             )
                         Defendant-Intervenors )
25                                             )

26          On March 2, 2021, the Court entered an order holding the pending dispositive motions in

27          1
             Secretary Becerra has been automatically substituted for Acting Secretary Cochran under
28   Federal Rule of Civil Procedure 25(d). Secretary Becerra is recused from this matter.
                                                     1
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 1
     abeyance and instructing the parties to file a joint status report on or before April 30, 2021. ECF No.
 2
     454. The parties report as follows:
 3
     1.      This case concerns the validity of two rules which create a moral exemption, and expand a
 4
     religious exemption, to the rules establishing the contraceptive coverage requirement. See Religious
 5
     Exemptions and Accommodations for Coverage of Certain Preventive Services Under the ACA, 83
 6
     Fed. Reg. 57,536 (Nov. 15, 2018); Moral Exemptions and Accommodations for Coverage of Certain
 7
     Preventive Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).
 8
     2.      The Court has before it fully briefed dispositive motions, see ECF Nos. 311, 366, 368, 370,
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     385, 388, 389, 391, 392, as well as supplemental briefs addressing the Supreme Court’s decision in
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     Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020), see
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     ECF Nos. 433, 435, 437, 438, 440.
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     3.      On March 1, 2021, Federal Defendants filed a motion to stay the case to afford new leadership
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     at the federal defendant agencies—the U.S. Department of Health and Human Services, the U.S.
14
     Department of Labor, and the U.S. Department of the Treasury—and the U.S. Department of Justice
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     additional time to evaluate the issues that this case presents. ECF No. 451.
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     4.      The Court entered an order holding the pending dispositive motions in abeyance until April
17
     30, 2021, and instructing the parties to file a joint status report on or before April 30, 2021.
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     5.      Federal Defendants report that they have been evaluating, and will continue to evaluate, the
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     issues that this litigation presents in light of all relevant facts and circumstances, including the
20
     Executive Order on Strengthening Medicaid and the Affordable Care Act, January 28, 2021 (EO),
21
     https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/28/executive-order-on-
22
     strengthening-medicaid-and-the-affordable-care-act/?_hsmi=117826243&_hsenc=p2ANqtz-
23
     9ZGdrSbFhmzpZv1U5tBXA5boILZhCzIZdVpKC3RgZl3d3ZDayiCDM0lrq6CTOqVJsF88ThoYb
24
     QQFpNxZbyc7C5jyrg9A.          The EO states, among other things, that “it is the policy of my
25
     Administration to protect and strengthen Medicaid and the ACA and to make high-quality healthcare
26
     accessible and affordable for every American.” Id. § 1
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     6.      Federal Defendants request that, to conserve resources for the parties and the Court, the Court
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                                                         2
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                                                Case No.: 4:17-cv-5783
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 1
     continue to hold the pending dispositive motions in abeyance until July 30, 2021, to afford the new
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     leadership at the agencies additional time to assess this case and the issues it presents. Federal
 3
     Defendants propose that the parties file another status report on or before July 30, 2021. Counsel for
 4
     Federal Defendants have conferred by phone with counsel for the other parties. Plaintiffs and
 5
     Defendant-Intervenor March for Life have no objection to this request.
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     7.      Defendant-Intervenor the Little Sisters of the Poor opposes this request and expresses the
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     following position: The Federal Defendants have not pointed to any actual rulemaking in process but
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     seek an indefinite delay merely to think about whether to begin a rulemaking process that might
 9
     change federal law, possibly years into the future. The dispute over the contraceptive mandate has
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     now festered across three presidential administrations. A clear holding that the Little Sisters are
11
     entitled to a religious exemption will both resolve the instant dispute over existing federal law and
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     provide the Federal Defendants with much needed guidance as they continue to evaluate their
13
     options. The pending summary judgment motions have now been fully briefed for more than 20
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     months. As the Ninth Circuit noted more than two years ago, a stay in this case was unwarranted,
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     especially because the litigation “could have well proceeded to a disposition on the merits without
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     the delay.” California v. Azar, 911 F.3d 558, 584 (9th Cir. 2018). The Little Sisters respectfully
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     request that now is the time for that disposition to issue.
18

19   Dated: April 30, 2021                                   Respectfully submitted,

20                                                           SARAH E. HARRINGTON
                                                             Deputy Assistant Attorney General
21
                                                             STEPHANIE HINDS
22                                                           Acting United States Attorney

23                                                           MICHELLE R. BENNETT
                                                             Assistant Branch Director
24
                                                               /s/   Justin   M.  Sandberg
25                                                           JUSTIN M. SANDBERG, IL Bar No. 6278377
                                                             Senior Trial Counsel
26                                                           MICHAEL GERARDI
                                                             CHRISTOPHER R. HEALY
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                                                         3
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 1                                               Trial Attorneys
                                                 United States Department of Justice
 2                                               Civil Division, Federal Programs Branch
                                                 1100 L Street NW
 3                                               Washington, D.C. 20001
                                                 Telephone: (202) 514-5838
 4                                               Email: Justin.Sandberg@usdoj.gov
                                                 Counsel for Federal Defendants
 5
     Dated: April 30, 2021                       Respectfully Submitted,
 6
                                                 ROB BONTA
 7                                               Attorney General of California
                                                 KATHLEEN BOERGERS
 8                                               KARLI EISENBERG
                                                 Supervising Deputy Attorneys General
 9
                                                 /s/ Ketakee Kane
10                                               KETAKEE KANE
                                                 Deputy Attorney General
11                                               Attorneys for Plaintiff the State of
                                                 California
12
                                                 Respectfully submitted,
13
                                                 /s/ Mark L. Rienzi
14                                               Eric C. Rassbach – No. 288041
                                                 Mark L. Rienzi – pro hac vice
15                                               Lori H. Windham – pro hac vice
                                                 Diana M. Verm – pro hac vice
16                                               The Becket Fund for Religious Liberty
                                                 1919 Pennsylvania Ave. NW, Suite 400
17                                               Washington, DC 20036
                                                 Telephone: (202) 955-0095
18                                               Facsimile: (202) 955-0090
                                                 erassbach@becketlaw.org
19                                               Counsel for Defendant-Intervenors The Little
                                                 Sisters of the Poor
20

21                                               /s/ Kenneth J. Connelly
                                                 (as authorized on 4/30/21)
22                                               KENNETH J. CONNELLY, AZ Bar No. 25420
                                                 Alliance Defending Freedom
23                                               15100 N. 90th Street
                                                 Scottsdale, AZ 85260
24                                               Telephone: (480) 444-0020
25                                               Facsimile: (480) 444-0028
                                                 Email: kconnelly@ADFlegal.org
26                                               Counsel for Defendant-Intervenor March for
                                                 Life Education and Defense Fund
27

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                                             4
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                                    Case No.: 4:17-cv-5783
